            Case 1:20-cr-00062-JLT-SKO Document 39 Filed 06/08/20 Page 1 of 2



 1   Kevin P. Rooney, #107554
     Of Counsel, HAMMERSCHMIDT LAW CORPORATION
 2   2445 Capitol Street, Suite 150
     Fresno, CA 93721
     Tel: (559) 233-5333
 3   Fax: (559) 233-4333
 4   Attorney for Defendant, DENNISE CATRO-LOPEZ
 5

 6                      IN THE UNITED STATES DISTRICT COURT FOR THE
 7                                EASTERN DISTRICT OF CALIFORNIA
 8
                                                     )
 9   UNITED STATES OF AMERICA,                       ) Case No.: 1:20-cr-00062 NONE SKO
                                                     )
10                  Plaintiff,                       ) Stipulation and Order To Modify
                                                     ) Conditions of PreTrial Release
11          vs.                                      )
                                                     )
12   DENNISE CASTRO-LOPEZ, et al                     )
                                                     )
13                  Defendants.                      )
                                                     )
14                                                   )
                                                     )
15
            The parties to this matter, through undersigned counsel, stipulate as follows:
16

17          The PreTrial Services Office has reported that Ms. Castro-Lopez has been fully
18   compliant with all her conditions of release, maintained a stable residence, obtained legitimate
19
     employment, and has not had any contact with law enforcement. As requested by the PreTrial
20
     Services Office, Ms. Castro-Lopez’ pre-trial release conditions of electronic monitoring and
21
     home detention will be vacated. All other conditions of pretrial release will remain in full force
22

23   and effect.

24   Dated: June 5, 2020                           Dated: June 5, 2020

25                                                 McGregor W. Scott, United States Attorney
26
27   ____Kevin P. Rooney___                               Kathleen A. Servatius
     KEVIN P. ROONEY                               KATHLEEN A. SERVATIUS
28   Attorney for defendant                        Assistant
                                                     1       United States Attorney
     DENNISE LOPEZ -CASTRO
              Case 1:20-cr-00062-JLT-SKO Document 39 Filed 06/08/20 Page 2 of 2



 1                       IN THE UNITED STATES DISTRICT COURT FOR THE

 2                                 EASTERN DISTRICT OF CALIFORNIA

 3
                                                     )
 4   UNITED STATES OF AMERICA,                       ) Case No.: 1:20-cr-00062 NONE SKO
                                                     )
 5                   Plaintiff,                      ) ORDER MODIFYING CONDITIONS OF
                                                     ) PRETRIAL RELEASE
 6            vs.                                    )
                                                     )
 7   DENNISE CASTRO-LOPEZ, et al                     )
                                                     )
 8                   Defendants.                     )
                                                     )
 9                                                   )
                                                     )
10

11            Ms. Castro-Lopez’ pretrial release conditions of electronic monitoring and home

12   detention are hereby vacated. All other conditions of Ms. Castro-Lopez’ pretrial release remain
13
     in full force and effect.
14

15
     IT IS SO ORDERED.
16

17   Dated:     June 8, 2020                                     /s/   Sheila K. Oberto           .
                                                         UNITED STATES MAGISTRATE JUDGE
18
19

20

21

22

23

24

25

26
27

28                                                   2
